Case: 1:21-cv-01945-JPC Doc #: 58 Filed: 08/11/23 1 of 3. PagelD #: 893

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
ALEKSANDER SHUL, et al. ) CASE NO: 1:21-CV-01945
)
Plaintiffs, ) JUDGE J. PHILIP CALABRESE
)
V. ) MAGISTRATE JUDGE JENNIFER
) DOWDELL ARMSTRONG
CITY OF UNIVERSITY HEIGHTS, OHIO _)
)
Defendant. )
)

PLAINTIFES? MOTION FOR ATTORNEY'S FEES AND COSTS

The Parties to this action previously filed with the Court a Settlement Agreement (ECF
47-1) fully resolving all claims in this matter, which was incorporated into an Order of this
Court. ECF No. 47. In Paragraph 15 of the Settlement Agreement, the Parties agreed “Plaintiffs
shall be entitled to an award of attorneys’ fees...[to] be determined by the United States District
Court for the Northern District of Ohio, Eastern Division, upon application of Plaintiffs for
same.” ECF No. 47-1 PageID 348.

Now before the Court is Plaintiffs’ Motion for Attorney’s Fees and Costs, which
Plaintiffs filed on January 17, 2023. ECF No. 48. Defendant filed a memorandum in opposition
to Plaintiffs’ Motion on March 22, 2023. ECF No. 51. The Parties have reached an Attomey’s
Fees Agreement fully resolving all issues of attorney’s fees.

Accordingly, Plaintiffs hereby withdraw their Motion for Attorney’s Fees and Costs, and
the Parties jointly agree that only the rights and obligations arising under Paragraph 15 as to

Plaintiffs’ Motion for Attorney’s Fees and Costs (ECF No. 48) are fully satisfied. Any and all
Case: 1:21-cv-01945-JPC Doc #: 58 Filed: 08/11/23 2 of 3. PagelD #: 894

other terms and provisions of Paragraph 15 of the Settlement Agreement remain in full force and

effect.

Respectfully submitted,

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Case: 1:21-cv-01945-JPC Doc #: 58 Filed: 08/11/23 3 of 3. PagelD #: 895

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